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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0615V
                                          UNPUBLISHED


    DEBRA STOTT,                                                Chief Special Master Corcoran

                         Petitioner,
    v.                                                          Filed: July 12, 2022

    SECRETARY OF HEALTH AND                                     Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                             Stipulation on Damages; Influenza
                                                                (Flu); Shoulder Injury Related to
                         Respondent.                            Vaccine Administration (SIRVA).


Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
Respondent.

                                DECISION ON JOINT STIPULATION1

       On May 18, 2020, Debra Stott filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.2 (the “Vaccine
Act”). On or about October 8, 2018, Petitioner received an influenza (“flu”) vaccine, which
vaccine is listed on the Vaccine Injury Table (the “Table”), 42 C.F.R. § 100.3(a). Petitioner
alleges that she sustained a shoulder injury related to vaccine administration (“SIRVA”)
as a consequence of the flu vaccine and further alleges that she suffered the residual
effects of this injury for more than six months.




1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Respondent denies that Petitioner suffered the onset of her alleged SIRVA within
the Table timeframe; denies that the flu vaccine caused Petitioner’s alleged shoulder
injury or any other injury; and further denies that Petitioner’s current disabilities are a
sequela of a vaccine-related injury.

       Nevertheless, on July 12, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

      A lump sum of $20,000.00 in the form of a check payable to Petitioner.
Stipulation at ¶ 8. This amount represents compensation for all items of damages that
would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 DEBRA STOTT,

                Petitioner,                            No. 20-615V
                                                       Chief Special Master Corcoran
 V.                                                    SPU

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Respondent.

                                          STIPULATION

       The parties hereby stipulate to the following matters:

        I. Petitioner, Debra Stott, filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-l Oto 34 (the "Vaccine Program"). The

petition seeks compensation for injuries allegedly related to petitioner's receipt of the influenza

("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"), 42 C.F.R. §

100.3 (a).

       2. Petitioner received a flu vaccine on or about October 8, 2018.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she suffered a Shoulder Injury Related to Vaccine Administration

("SIRVA") as a consequence of the flu immunization she received on or about October 8, 2018,

and further alleges that she suffered the residual effects of this injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her condition.




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